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     Phoenix, AZ 85016
3    Telephone No.: (602) 258-6000
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4
     Adam B. Nach - 013622
5    email: adam.nach@lane-nach.com

6    Attorneys for David A. Birdsell, Trustee

7                              IN THE UNITED STATES BANKRUPTCY COURT

8                                     FOR THE DISTRICT OF ARIZONA

9    In re:                                               (Chapter 7 Case)

10   LINDSEY HARDISON aka LINDSEY                         No. 2:14-bk-01152-EPB
     KILPATRICK aka LINDSEY HARDISON
11   KILPATRICK,                                          FINAL APPLICATION FOR PAYMENT
                                                          OF ATTORNEYS' FEES AND COSTS TO
12                   Debtor.                              BE SUBORDINATED TO TRUSTEE’S
                                                          FEES AND REQUEST FOR NOTICING
13                                                        THROUGH TRUSTEE'S FINAL REPORT

14
     I.       GENERAL INFORMATION.
15
              Lane & Nach, P.C., (hereinafter “Attorney”), counsel for David A. Birdsell, Chapter 7 Trustee in
16
     the above-captioned case (hereinafter "Trustee") makes its Final Application for Payment of Attorneys’
17

18   Fees and Costs to Be Subordinated to Trustee’s Fees and Request for Noticing Through Trustee’s Final

19   Report. In support of its Application, Attorney submits its billing statements for the period of April 8,
20   2014 through January 28, 2016, which are attached hereto and incorporated herein. In further support of
21
     its Application, Attorney respectfully represents as follows:
22
     II.      NARRATIVE SUMMARY.
23
              A.     Background.
24

25                   1. This case was commenced by voluntary petition filed on or about January 29, 2014.

26   Thereafter, David A. Birdsell was appointed Trustee.

27                   2. Attorney's employment as counsel for the Trustee was approved by Order of this Court
28


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 1   dated April 16, 2014.      This is Attorney's Final Application for Allowance of Compensation and
 2
     Reimbursement of Expenses.
 3
                    3. Attorney has expended in excess of 21.25 hours in its representation of the Trustee.
 4
     Based upon Attorney's ordinary hourly rates in effect at the time services were rendered, Attorney's fees
 5
     are $3,945.50. Attorney has incurred out-of-pocket expenses for which it is seeking reimbursement in the
 6

 7   sum of $17.36. The blended hourly rate is $248.75. Attorney has agreed to subordinate its fees and costs

 8   to Trustee’s fees. The total amount sought by Attorney is as follows:
 9                  Total Fees                                       $3,945.50
                    Total Costs                                         $17.36
10
                    Total                                            $3,962.86
11
                    4. The services for which compensation is requested were rendered on behalf of the
12
     Trustee and compensation is sought pursuant to 11 U.S.C. §§330(a), 331 and 503(a) and (b) and Rule
13

14   2016(a), F.R.B.P. and in compliance with this Court's Order Authorizing Trustee to Employ Attorney, and

15   the Guidelines of the Office of the U.S. Trustee for the District of Arizona.

16                  5. Except as Attorney may be entitled to receive compensation herein, Attorney has no
17   arrangements with any other parties whatsoever to pay Attorney for the services of Attorney to the Estate,
18
     nor has Attorney received any funds from any parties whatsoever for the services rendered to the Estate.
19
     Additionally, Attorney has not made any arrangements to share any compensation received by Order of
20
     this Court with any other party, nor does Attorney have arrangements for sharing of any compensation
21

22   herein awarded, except as are normally divided among members and/or associates of its firm.

23                  6. The names of all of Attorney's professionals and paraprofessionals, their billing code,

24   and the hourly rate charged by each is set forth below. Attorney charges its non-bankruptcy clients at the
25
     same rate or higher for similar services. The rates charged are reasonable and are commensurate with fees
26
     for similar services charged by bankruptcy attorneys and other professionals of similar experience in
27
     Phoenix, Arizona.
28
                                                    2
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 1
 2
     Title             Name/Billing Code                         Hourly               Year Admitted to
 3                                                               Rate(s)                  Practice
     Partner           Adam B. Nach (ABN/Partner)                $315                  1991
 4   Associate         Paul Hilkert (PH/Associate)               $225-260              2007
     Associate         Jonathan Simon (JS/Associate)             $195                  2010
 5   Paralegal         Terie Turner (TT/Paralegal)               $110                   N/A
 6   Paralegal         Stephanie Anderson (SA/Paralegal)         $70                    N/A
     Paralegal         Danica Acosta (DA/Paralegal)              $70                    N/A
 7

 8                   7. This Application is filed more than 120 days after the Order for relief and more than
 9
     120 days after a prior application.
10
             B.      Case Status.
11
                     1. To the best of Attorney's information and belief, the approximate cash receipts and
12
     disbursements as of this date are as follows:
13

14                   Total Received                                 $3,300.53

15                   Total Disbursed                                   $-0- (minimal bank fees)
16                   2. Attorney is not aware of any other requests for compensation pending before this Court.
17
     To the best of Attorney's information and belief, there are no other approved and unpaid administrative
18
     expenses other than those applied for herein.
19
                     3. To the best of Attorney's information, there are no encumbered funds in the Estate.
20

21                   4. Trustee anticipates that the Notice of Proposed Distribution should be submitted on or

22   before March, 2016.

23           C.      Project Summary.
24                   The following are the descriptions of the projects for which fees and expenses were
25
     incurred, all of which were necessary and benefited the Estate, the number of hours spent and the amount
26
     of compensation requested for each professional and paraprofessional for each project.
27
                     1. Case Administration. As more fully set forth in Exhibit "A" Attorney has performed
28
                                                      3
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 1   professional services with respect to the general administration of this bankruptcy Estate. Time was
 2
     incurred in communication and correspondence with the Trustee and others regarding the general status of
 3
     the case and the various activities involved in the case. Time and attention was incurred in assisting the
 4
     Trustee in the analysis of the Debtor pre-petition activities and conducted an examination pursuant to
 5
     F.R.B.P. 2004. Attorney reviewed Debtor Schedules and Statements filed with the Court. Attorney
 6

 7   recovered tax returns and refunds from Debtor. In connection with this subject area, the following fees

 8   were incurred:
 9   Title                 Name                            Hourly Rate(s)     Hours         Dollar Amount
10   Partner               Adam B. Nach                    $315                1.60               $504.00
     Associate             Paul Hilkert                    $225-$260           7.90             $1,791.50
11   Associate             Jonathan Simon                  $195                5.90             $1,150.50
     Paralegal             Terie Turner                    $110                2.25               $247.50
12   Paralegal             Stephanie Anderson              $70                  .60                $42.00
     Paralegal             Danica Acosta                   $70                 3.00               $210.00
13
     TOTAL                                                                                      $3,945.50
14

15          As detailed on Exhibit "A", the costs for which Attorney seeks reimbursement total $17.36. The
16   majority of the costs were for photocopy charges incurred (@ $.25 per page) and for necessary facsimile
17
     transfer charges (@ $.20 per page).
18

19   III. EVALUATION STANDARDS.
20          A. Attorney certifies that it did, in fact, perform the services set forth herein and is entitled to
21
     compensation requested; and, Attorney certifies that performance of the services has benefited the Estate.
22
            B. Trustee has approved the requested fees and costs sought herein.
23
     IV.    CONCLUSION.
24

25          Based on the foregoing, Lane & Nach, P.C., respectfully requests that this Court enter its Order:

26          A. Approving and authorizing payment of fees to Lane & Nach, P.C. in the sum of $3,945.50 for

27   services provided herein for the period of April 8, 2014 through January 28, 2016, through Trustee's Final
28
                                                   4
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 1   Report and to be subordinated to the Trustee’s Fees and Costs; and,
 2
            B. Approving and authorizing reimbursement of out-of-pocket expenses to Lane & Nach, P.C., in
 3
     the sum of $17.36 incurred herein through Trustee's Final Report and to be subordinated to the Trustee’s
 4
     Fees and Costs; and,
 5
            C. For such other and further relief as this Court deems just and proper.
 6

 7          RESPECTFULLY SUBMITTED this 28th day of January, 2016.

 8
                                                   LANE & NACH, P.C.
 9

10                                                 By___/s/ ABN – 013622 ___________
                                                         Adam B. Nach
11                                                       Attorney for Trustee

12

13   Copy of the foregoing delivered via electronic notification

14   Office of the U.S. Trustee
     230 North First Avenue
15   First Floor
     Phoenix, AZ 85003
16   Email: Patty.Chan@udoj.gov

17   By /s/ Danica Acosta

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